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   8
   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12   PLAINTIFFS SHAHRIYAR REZAI-                )    PLAINTIFFS’ CLASS ACTION
                                                  )    COMPLAINT FOR:
  13   HARIRI, on behalf of himself and a         )
       class of all others similarly situated,    )    1. VIOLATION OF THE
  14                                              )       CONSUMER LEGAL
                                                  )       REMEDIES ACT,
  15                Plaintiffs,                           CALIFORNIA CIVIL CODE §§
                                                  )       1750, ET SEQ.
  16                                              )    2. VIOLATION OF THE UNFAIR
          VS.                                     )       COMPETITION LAW,
  17                                              )       CALIFORNIA BUSINESS &
       MAGIC MOUNTAIN LLC; PARK                   )       PROFESSIONS CODE §§
  18   MANAGEMENT CORP. dba SIX                   )       17200, ET SEQ.
                                                  )    3. VIOLATION OF THE FALSE
  19   FLAGS DISCOVERY KINGDOM;                   )       ADVERTISING LAW,
       SIX FLAGS THEME PARKS INC.;                )       CALIFORNIA BUSINESS &
  20   DOES 1-50, inclusive                       )       PROFESSIONS CODE §§
                                                  )       17500, ET SEQ.
  21                                              )    4. BREACH OF EXPRESS
                    Defendants.                   )       WARRANTY
  22                                              )    5. NEGLIGENT
                                                  )       MISREPRESENTATION
  23                                              )    6. UNJUST ENRICHMENT
                                                  )    7. CONVERSION
  24                                              )    8. BREACH CONTRACT
                                                  )
  25                                              )    DEMAND FOR JURY TRIAL
                                                  )
  26                                              )
  27
  28

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   1
   2
                                       INTRODUCTION
   3
             Plaintiff SHAHRIYAR REZAI-HARIRI (hereinafter, “Plaintiff”) brings this
   4
       action on behalf of himself and all others similarly situated against Defendants
   5
       MAGIC MOUNTAIN LLC. (“MAGIC MOUNTAIN”), PARK MANAGEMENT
   6
       CORP.      dba   SIX    FLAGS     DISCOVERY         KINGDOM        (“DISCOVERY
   7
       KINGDOM”) and SIX FLAGS THEME PARKS INC. (“SIX FLAGS”). Plaintiff
   8
       makes the following allegations pursuant to the investigation of his counsel and
   9
       based upon information and belief, except as to the allegations specifically
  10
       pertaining to himself, which are based on personal knowledge.
  11
  12                FACTS COMMON TO ALL CAUSES OF ACTION
  13         1.     Defendants have made the baffling decision to keep charging all of its
  14   customers monthly membership fees while prohibiting access to Six Flags Magic
  15   Mountain as the novel coronavirus, COVID-19, rages throughout the world and the
  16   United States economy has gone into a deep recession.
  17         2.     Defendant MAGIC MOUNTAIN is the owner, operator, or lessor of
  18   Six Flags Magic Mountain, an amusement park located in Valencia, CA. The park
  19   contains two separate elements – Six Flags Magic Mountain and Hurricane Harbor
  20   LA. (For the purposes of this complaint, “Six Flags Magic Mountain” shall refer
  21   to the entirety of the amusement park complex located at 26101 Magic Mountain
  22   Pkwy, Valencia, CA 91355.)
  23         3.     Defendant DISCOVERY KINGDOM is the owner, operator, or lessor
  24   of Six Flags Discovery Kingdom, an amusement park located in Vallejo, CA.
  25         4.     Plaintiff is informed and believes that Defendant SIX FLAGS
  26   THEME PARKS INC. is the parent company of Defendants MAGIC MOUNTAIN
  27   and DISCOVERY KINGDOM and the owner, operator, or lessor of Six Flags
  28   amusement parks throughout the United States. Together, Defendants offer a

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   1
       number of different options for visitors to their parks. Visitors can choose to
   2
       purchase a single-day ticket, a “Season Pass,” or a “Six Flags Membership.” A
   3
       “Season Pass” allows unlimited entry into Six Flags Magic Mountain & Hurricane
   4
       Harbor (a waterpark located within Six Flags Magic Mountain) and Discovery
   5
       Kingdom, among other benefits, while a “Six Flags Membership” offers varying
   6
       levels of access and benefits and allows the holder to visit any of the Six Flags
   7
       theme parks located throughout the United States, including other parks in
   8
       California.
   9
             5.      A “Season Pass” currently retails at $289.00 per year, with various
  10   seasonal promotions affecting the rate. A “Six Flags Membership” current retails
  11   between approximately $240.00 to $505.00 per year, with various seasonal
  12   promotions affecting the rate. (Collectively, “Season Pass” or a “Six Flags
  13   Membership” shall be referred to as the “Membership.”)
  14         6.      To sign up for Defendants’ Memberships, customers provide
  15   Defendants with their credit card or debit card information. Defendants then
  16   automatically charges its customers’ credit or debit cards as payments are due on a
  17   monthly basis.
  18         7.      On March 13, 2020, Defendants announced that they were closing Six
  19   Flags Magic Mountain and Six Flags Discovery Kingdom. However, unlike its
  20   competitors in the industry, Defendants continued charging its thousands of
  21   customers monthly fees – at full price. Defendants are able to unilaterally charge
  22   its customers monthly fees without their consent, as it is in possession of its
  23   customers’ debit and credit card information. Thus, Defendants have made the
  24   deliberate decision to bilk its customers out of untold sums per months while its
  25   customers do not have access to Defendants’ parks. The sole reason Defendants’
  26   customers pay monthly membership fees is to have access to parks like Six Flags
  27   Magic Mountain, which is advertised to be available seven days a week. Now,
  28

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   1
       Defendants are charging its customers full price while denying its customers all
   2
       access to all of Defendants’ parks.
   3
                                             PARTIES
   4
             8.     Plaintiff SHAHRIYAR REZAI-HARIRI was, at all relevant times, an
   5
       individual residing in the State of California and is currently subscribed to
   6
       Defendant MAGIC MOUNTAIN’S “Season Pass” program at a rate of $6.95 per
   7
       month. Plaintiff has had a “Season Pass” and paid monthly since 2014. On or
   8
       around March 25, 2020, Defendants charged Plaintiff’s credit card the $6.95
   9
       monthly fee even though Plaintiff does not have access to Six Flags Magic
  10   Mountain and has not been able to access the parks since March 12, 2020. Plaintiff
  11   would not have paid for the membership, or would not have paid for it on the same
  12   terms, had he known that he would not have access to Six Flags Magic Mountain
  13   for a period of months.
  14         9.     Defendant MAGIC MOUNTAIN LLC is now, and at all times
  15   mentioned in this Complaint, a limited liability company domiciled in the State of
  16   California, with its principal place of business located at 26101 Magic Mountain
  17   Parkway, Valencia CA 91355.
  18         10.    Defendant PARK MANAGEMENT CORP. dba SIX FLAGS
  19   DISCOVERY KINGDOM is now, and at all times mentioned in this Complaint, a
  20   corporation domiciled in the State of California, with its principal place of business
  21   located at 1001 Fairgrounds Drive, Vallejo, CA 94589.
  22         11.    Defendant SIX FLAGS THEME PARKS INC. is now, and at all
  23   times mentioned in this Complaint, a corporation domiciled in the State of Texas,
  24   with its principal place of business located at 924 East Avenue J, Grand Prairie,
  25   TX 75050.
  26         12.    Plaintiff is currently unaware of the true names and capacities of the
  27   other defendants sued in this action and therefore have named them by the
  28   fictitious names DOES 1 through 50, inclusive. Plaintiff will amend this complaint

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   1
       to allege the true names and capacities of such fictitiously named defendants when
   2
       they are ascertained.
   3
             13.    Plaintiff is informed and believe and on that basis allege that each
   4
       defendant sued in this action, including each defendant sued by the fictitious names
   5
       DOES 1 through 50, inclusive, is responsible in some manner for the occurrences,
   6
       controversies and damages alleged below. (Defendants MAGIC MOUNTAIN,
   7
       DISCOVERY KINGDOM, SIX FLAGS, and DOES 1 through 50, inclusive, are
   8
       hereinafter collectively referred to as “Defendants”.)
   9
                                 JURISDICTION AND VENUE
  10         14.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §
  11   1332(d)(2)(A) because this case is a class action where the aggregate claims of all
  12   members of the proposed class are in excess of $5,000,000, exclusive of interest
  13   and costs, and most members of the proposed nationwide class are citizens of
  14   states different from the states of Defendant.
  15         15.    This Court has general jurisdiction over Defendants MAGIC
  16   MOUNTAIN and DISCOVERY KINGDOM because they are headquartered in
  17   California. Further, the Court has general jurisdiction over Defendant SIX FLAGS
  18   because it conducts substantial business within California such that Defendant has
  19   significant, continuous, and pervasive contacts with the State of California.
  20         16.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
  21   the challenged fee practices have been committed in this District, Defendant
  22   MAGIC MOUNTAIN is headquartered in this District, and because Plaintiff
  23   resides and suffered the alleged harm in this District.
  24                    CLASS REPRESENTATION ALLEGATIONS
  25         17.    Plaintiff brings this action as a class action under Federal Rule of
  26   Civil Procedure 23 on behalf of a Class consisting of all persons in the United
  27   States who were charged fees for Memberships during period in which
  28   Defendants’ amusement parks were and are closed.

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   1
              18.     Plaintiff reserves the right to amend or modify the Class definition
   2
       with greater specificity or further division into subclasses or limitation to particular
   3
       issues as discovery and the orders of this Court warrant.
   4
              19.     Excluded from the Class are the Defendants, the officers and directors
   5
       of the Defendants at all relevant times, members of its immediate families and their
   6
       legal representatives, heirs, successors or assigns and any entity in which
   7
       Defendants has or had a controlling interest.
   8
              20.     Plaintiff is a member of the Class he seeks to represent.
   9
              21.     Defendants have thousands of customers that have paid or were
  10   charged fees while Six Flags Magic Mountain and Six Flags Discovery Kingdom
  11   were closed.     Accordingly, members of the Class are so numerous that their
  12   individual joinder herein is impracticable. The precise number of Class members
  13   and their identities are unknown to Plaintiff at this time but may be determined
  14   through discovery. Class members may be notified of the pendency of this action
  15   by mail and/or publication through the distribution records of Defendant.
  16          22.     Common questions of law and fact exist as to all Class members and
  17   predominate over questions affecting only individual Class members. Common
  18   legal and factual questions include, but are not limited to, whether Defendants have
  19   breached its contract with its customers and whether their actions are fraudulent
  20   and unlawful.
  21          23.     The claims of the named Plaintiff are typical of the claims of the Class
  22   in that the named Plaintiff was exposed to Defendants’ false and misleading
  23   advertising and was charged membership fees despite being barred from entry into
  24   Six Flags Magic Mountain and Six Flags Discovery Kingdom, and suffered losses
  25   as a result.
  26          24.     Plaintiff is an adequate representative of the Class because Plaintiff’s
  27   interests do not conflict with the interests of the Class members Plaintiff seek to
  28   represent, Plaintiff has retained competent counsel experienced in prosecuting

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   1
       class actions, and Plaintiff intends to prosecute this action vigorously.         The
   2
       interests of Class members will be fairly and adequately protected by Plaintiff and
   3
       his counsel.
   4
             25.      The class mechanism is superior to other available means for the fair
   5
       and efficient adjudication of the claims of the Class members. Each individual
   6
       Class member may lack the resources to undergo the burden and expense of
   7
       individual prosecution of the complex and extensive litigation necessary to
   8
       establish Defendants’ liability. Individualized litigation increases the delay and
   9
       expense to all parties and multiplies the burden on the judicial system presented by
  10   the complex legal and factual issues of this case. Individualized litigation also
  11   presents a potential for inconsistent or contradictory judgments. In contrast, the
  12   class action device presents far fewer management difficulties and provides the
  13   benefits of single adjudication, economy of scale, and comprehensive supervision
  14   by a single court on the issue of Defendants’ liability. Class treatment of the
  15   liability issues will ensure that all claims and claimants are before this Court for
  16   consistent adjudication of the liability issues.
  17                               FIRST CAUSE OF ACTION
  18               Violation of California’s Consumers Legal Remedies Act,
  19            California Civil Code §§ 1750, et seq. (Injunctive Relief Only)
  20                           (By Plaintiff Against All Defendants)
  21         26.      Plaintiff hereby incorporates by reference the allegations contained in
  22   all preceding paragraphs of this complaint.
  23         27.      Plaintiff brings this claim individually and on behalf of members of
  24   the proposed Class against Defendants.
  25         28.      Plaintiff and Class members are consumers who paid fees for use of
  26   Defendants’ parks for personal use. Plaintiff and the Class are “consumers” as that
  27   term is defined by the Consumers Legal Remedies Act (“CLRA”) in Cal. Civ.
  28   Code § 1761(d).

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   1
                  29.      Defendants’ park access to Six Flags Magic Mountain and Six Flags
   2
       Discovery Kingdom that Plaintiff and Class members purchased from Defendant
   3
       was a “service” within the meaning of Cal. Civ. Code § 1761(b).
   4
                  30.      Defendants’ actions, representations, and conduct have violated, and
   5
       continue to violate the CLRA, because they extend to transactions that intended to
   6
       result, or which have resulted in, the sale of services to consumers.
   7
                  31.      Defendants’ advertising that Six Flags Magic Mountain and Six Flags
   8
       Discovery Kingdom would be available to its customers year-round, seven days a
   9
       week other than select holidays1, and that its customers would have access to its
  10   parks upon paying a membership fee is false and misleading to a reasonable
  11   consumer, including Plaintiff, because Defendants in fact closed Six Flags parks in
  12   California but continues to charge its customers the full price of membership.
  13              32.      Cal. Civ. Code § 1770(a)(5), prohibits “[r]epresenting that goods or
  14   services have sponsorship, approval, characteristics, ingredients, uses, benefits, or
  15   quantities which they do not have or that a person has a sponsorship, approval,
  16   status, affiliation, or connection which he or she does not have.” By engaging in
  17   the conduct set forth herein, Defendants violated and continue to violate Section
  18   1770(a)(5) of the CLRA, because Defendants’ conduct constitutes unfair methods
  19   of competition and unfair or fraudulent acts or practices, in that Defendants
  20   misrepresent the particular characteristics, benefits and quantities of the services.
  21              33.      Cal. Civ. Code § 1770(a)(7) prohibits representing that goods or
  22   services are of a particular standard, quality, or grade, or that goods are of a
  23   particular style or model, if they are of another. By engaging in the conduct set
  24   forth herein, Defendants violated and continue to violate Section 1770(a)(7) of the
  25   CLRA, because Defendants’ conduct constitutes unfair methods of competition
  26   and unfair or fraudulent acts or practices, in that Defendants misrepresent the
  27   particular standard, quality or grade of the services.
  28
       1
           https://www.sixflags.com/magicmountain/plan-your-visit/park-operating-schedule, last visited April 8, 2020.
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   1
             34.     Cal. Civ. Code § 1770(a)(9) further prohibits “[a]dvertising goods or
   2
       services with intent not to sell them as advertised.” By engaging in the conduct set
   3
       forth herein, Defendants violated and continues to violate Section 1770(a)(9),
   4
       because Defendants’ conduct constitutes unfair methods of competition and unfair
   5
       or fraudulent acts or practices, in that Defendants advertise services with the intent
   6
       not to sell the services as advertised.
   7
             35.     Plaintiff and the Class acted reasonably when they purchased a
   8
       Membership from Defendants on the belief that Defendants’ representations were
   9
       true and lawful.
  10         36.     Plaintiff and the Class suffered injuries caused by Defendants because
  11   (a) they would not have purchased or paid for Defendants’ Memberships absent
  12   Defendants’ representations and omission of a warning that it would continue
  13   charging customers’ credit cards and debit cards while the parks were closed; (b)
  14   they would not have purchased Memberships on the same terms absent
  15   Defendants’ representations and omissions; (c) they paid a price premium for
  16   Defendants’    Memberships       based    on     Defendants’   misrepresentations   and
  17   omissions; and (d) Defendants’ Memberships did not have the characteristics,
  18   benefits, or quantities as promised.
  19         37.     Under California Civil Code § 1780(a), Plaintiff and members of the
  20   Class seek injunctive and equitable relief for Defendants’ violations of the CLRA.
  21   Plaintiff has mailed an appropriate demand letter consistent with California Civil
  22   Code § 1782(a). If Defendants fail to take corrective action within 30 days of
  23   receipt of the demand letter, Plaintiff will amend his complaint to include a request
  24   for damages as permitted by Civil Code § 1782(d).
  25         38.     Wherefore, Plaintiff seeks injunctive and equitable relief for these
  26   violations of the CLRA.
  27   ///
  28   ///

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    1
                                SECOND CAUSE OF ACTION
    2
                       Violation of California’s Unfair Competition Law
    3
                    California Business & Professions Code §§ 17200, et seq.
    4
                              (By Plaintiff Against All Defendants)
    5
              39.    Plaintiff hereby incorporates by reference the allegations contained in
    6
        all preceding paragraphs of this complaint.
    7
              40.    Plaintiff brings this claim individually and on behalf of the members
    8
        of the proposed Class against Defendants.
    9
              41.    Defendants are subject to California’s Unfair Competition Law
   10   (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.          The UCL provides, in
   11   pertinent part: “Unfair competition shall mean and include unlawful, unfair or
   12   fraudulent business practices and unfair, deceptive, untrue or misleading
   13   advertising ….”
   14         42.    Defendants’ advertising that Six Flags Magic Mountain and Six Flags
   15   Discovery Kingdom would be available to its customers year-round, seven days a
   16   week, excluding certain holidays, and that its customers would have access to the
   17   parks upon paying for a Membership is false and misleading to a reasonable
   18   consumer, including Plaintiff, because Defendants in fact closed the parks while
   19   continuing to charge its customers the full price of the Memberships.
   20         43.    Defendants’ business practices, described herein, violated the
   21   “unlawful” prong of the UCL by violating the CLRA, the FAL, and California’s
   22   Health Studio Services Contract Law and other applicable law as described herein.
   23         44.    Defendants’ business practices, described herein, violated the “unfair”
   24   prong of the UCL in that their conduct is substantially injurious to consumers,
   25   offends public policy, and is immoral, unethical, oppressive, and unscrupulous, as
   26   the gravity of the conduct outweighs any alleged benefits. Defendants’ advertising
   27   and its charging of Membership fees while Six Flags Magic Mountain and Six
   28   Flags Discovery Kingdom are closed is of no benefit to consumers.

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    1
                45.    Defendants violated the fraudulent prong of the UCL by misleading
    2
        Plaintiff and the Class to believe that they would only be charged fees when they
    3
        would have access to Defendants’ parks.
    4
                46.    Plaintiff and the Class acted reasonably when they signed up for
    5
        Memberships based on the belief that they would only be charged fees when
    6
        Defendants’ parks were open and accessible.
    7
                47.    Plaintiff and the Class lost money or property as a result of
    8
        Defendants’ UCL violations because (a) they would not have purchased or paid for
    9
        Defendants’ Memberships absent Defendants’ representations and omission of a
   10   warning that it would continue charging customers’ credit cards and debit cards
   11   while the park was closed; (b) they would not have purchased the Memberships on
   12   the same terms absent Defendants’ representations and omissions; (c) they paid a
   13   price    premium      for   Defendants’    Memberships      based   on   Defendants’
   14   misrepresentations and omissions; and (d) Defendants’ Memberships did not have
   15   the characteristics, benefits, or quantities as promised.
   16                               THIRD CAUSE OF ACTION
   17                     Violation of California’s False Advertising Law,
   18                 California Business & Professions Code §§ 17500, et seq.
   19                           (By Plaintiff Against All Defendants)
   20           48.    Plaintiff hereby incorporates by reference the allegations contained in
   21   all preceding paragraphs of this complaint.
   22           49.    Plaintiff brings this claim individually and on behalf of the members
   23   of the proposed Class against Defendants.
   24           50.    California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code
   25   §§ 17500, et seq., makes it “unlawful for any person to make or disseminate or
   26   cause to be made or disseminated before the public in this state, ... in any
   27   advertising device ... or in any other manner or means whatever, including over the
   28   Internet, any statement, concerning ... personal property or services, professional or

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    1
        otherwise, or performance or disposition thereof, which is untrue or misleading and
    2
        which is known, or which by the exercise of reasonable care should be known, to
    3
        be untrue or misleading.”
    4
              51.   Defendants engaged in a scheme of charging customers full monthly
    5
        membership fees while Six Flags Magic Mountain and Six Flags Discovery
    6
        Kingdom were closed. Defendants’ advertising and marketing of the parks as
    7
        being accessible year-round misrepresented and/or omitted the true content and
    8
        nature of Defendants’ services. Defendants’ advertisements and inducements were
    9
        made in and originated from California and come within the definition of
   10   advertising as contained in Bus. & Prof. Code § 17500, et seq. in that the
   11   promotional materials were intended as inducements to purchase a Membership or
   12   other park services, and are statements disseminated by Defendants to Plaintiff and
   13   Class members.       Defendants knew that these statements were unauthorized,
   14   inaccurate, and misleading.
   15         52.   Defendants’ advertising that the parks would be accessible to
   16   customers year-round, and that its customers would have access to Six Flags Magic
   17   Mountain and Six Flags Discovery Kingdom upon purchasing a Membership is
   18   false and misleading to a reasonable consumer, including Plaintiff, because
   19   Defendants in fact closed the park while continuing to charge its customers the full
   20   price of its Memberships.
   21         53.   Defendants violated § 17500, et seq. by misleading Plaintiff and the
   22   Class to believe that they would be charged fees only when they have access to
   23   Defendants’ parks.
   24         54.   Defendants knew or should have known, through the exercise of
   25   reasonable care that its advertising of Six Flags Magic Mountain and Six Flags
   26   Discovery Kingdom being accessible year-round is false and misleading. Further,
   27   Defendants knew or should have known that it was breaching its contracts with its
   28   customers and fraudulently charging fees when it continued charging fees while

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    1
        the parks were closed.
    2
              55.    Plaintiff and the Class lost money or property as a result of
    3
        Defendants’ FAL violation because (a) they would not have purchased or paid for
    4
        Defendants’ Memberships absent Defendants’ representations and omission of a
    5
        warning that it would continue charging customers’ credit cards and debit cards
    6
        while the park was closed; (b) they would not have purchased Memberships on the
    7
        same terms absent Defendants’ representations and omissions; (c) they paid a price
    8
        premium for Defendants’ Memberships based on Defendants’ misrepresentations
    9
        and omissions; and (d) Defendants’ Memberships did not have the characteristics,
   10   benefits, or quantities as promised.
   11                            FOURTH CAUSE OF ACTION
   12                              Breach of Express Warranty
   13                         (By Plaintiff Against All Defendants)
   14         56.    Plaintiff hereby incorporate by reference the allegations contained in
   15   all preceding paragraphs of this complaint.
   16         57.    Plaintiff brings this claim individually and on behalf of the members
   17   of the proposed Class against Defendants.
   18         58.    In connection with the sale of Memberships, Defendants issues an
   19   express warranty that Six Flags Magic Mountain and Six Flags Discovery
   20   Kingdom are accessible every day, year-round, excluding select holidays.
   21         59.    Defendants’ affirmation of fact and promise in Defendants’ marketing
   22   became part of the basis of the bargain between Defendants and Plaintiff and Class
   23   members, thereby creating express warranties that the services would conform to
   24   Defendants’ affirmation of fact, representations, promise, and description.
   25         60.    Defendants breached their express warranty because Defendants’
   26   parks are not accessible every day, year-round. In fact, Defendant charges its
   27   customers the full amount of its monthly fees while Six Flags Magic Mountain and
   28   Six Flags Discovery Kingdom are closed.

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    1
              61.    Plaintiff and the Class members were injured as a direct and
    2
        proximate result of Defendants’ breach because: (a) they would not have purchased
    3
        or paid for Defendants’ Membership absent Defendants’ representations and
    4
        omission of a warning that it would continue charging customers’ credit cards and
    5
        debit cards while the park was closed; (b) they would not have purchased the
    6
        Memberships on the same terms absent Defendants’ representations and omissions;
    7
        (c) they paid a price premium for Defendants’ Memberships based on Defendants’
    8
        misrepresentations and omissions; and (d) Defendants’ Memberships did not have
    9
        the characteristics, benefits, or quantities as promised.
   10                              FIFTH CAUSE OF ACTION
   11                                Negligent Misrepresentation
   12                          (By Plaintiff Against All Defendants)
   13         62.    Plaintiff hereby incorporate by reference the allegations contained in
   14   all preceding paragraphs of this complaint.
   15         63.    Plaintiff bring this claim individually and on behalf of the members of
   16   the proposed Class against Defendants.
   17         64.    As discussed above, Defendants misrepresented that Six Flags Magic
   18   Mountain and Six Flags Discovery Kingdom is accessible every day, year-round.
   19   However, Defendants in fact charges full price for monthly memberships even
   20   when the parks are closed.
   21         65.    At the time Defendants made these representations, Defendants knew
   22   or should have known that these representations were false or made them without
   23   knowledge of their truth or veracity.
   24         66.    At an absolute minimum, Defendants negligently misrepresented
   25   and/or negligently omitted material facts about its Memberships.
   26         67.    The negligent misrepresentations and omissions made by Defendants,
   27   upon which Plaintiff and Class members reasonably and justifiably relied, were
   28   intended to induce and actually induced Plaintiff and Class members to purchase

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    1
        Defendants’ Memberships.
    2
               68.   Plaintiff and Class members would not have purchased Defendants’
    3
        Memberships, or would not have purchased the services on the same terms, if the
    4
        true facts had been known.
    5
               69.   The negligent actions of Defendants caused damage to Plaintiff and
    6
        Class members, who are entitled to damages and other legal and equitable relief as
    7
        a result.
    8
                                  SIXTH CAUSE OF ACTION
    9
                                       Unjust Enrichment
   10                         (By Plaintiff Against All Defendants)
   11          70.   Plaintiff hereby incorporate by reference the allegations contained in
   12   all preceding paragraphs of this complaint.
   13          71.   Plaintiff brings this claim individually and on behalf of the members
   14   of the proposed Class against Defendants.
   15          72.   Plaintiff and members of the Class conferred benefits on Defendants
   16   by paying, and being charged, membership fees while Six Flags Magic Mountain
   17   and Six Flags Discovery Kingdom were closed.
   18          73.   Defendants have knowledge of such benefits.
   19          74.   Defendants have been unjustly enriched in retaining the revenues
   20   derived from Plaintiff and Class members’ membership fees. Retention of those
   21   moneys under these circumstances is unjust and inequitable because Defendant is
   22   charging its customers full price while the parks are closed.                These
   23   misrepresentations and charges caused injuries to Plaintiff and members of the
   24   Class because they would not have paid Defendants’ membership fees had the true
   25   facts been known.
   26          75.   Because Defendants’ retention of the non-gratuitous benefits
   27   conferred on it by Plaintiff and members of the Class is unjust and inequitable,
   28   Defendants must pay restitution to Plaintiff and members of the Class for their

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    1
        unjust enrichment, as ordered by the Court.
    2
                                   SEVENTH CAUSE OF ACTION
    3
                                             Conversion
    4
                              (By Plaintiff Against All Defendants)
    5
              76.   Plaintiff hereby incorporate by reference the allegations contained in
    6
        all preceding paragraphs of this complaint.
    7
              77.   Plaintiff brings this claim individually and on behalf of the members
    8
        of the proposed Class against Defendants.
    9
              78.   Plaintiff and members of the Class had a right to retain their
   10   membership fees while Six Flags Magic Mountain and Six Flags Discovery
   11   Kingdom were closed; Defendants intentionally charged Plaintiff’s and Class
   12   members’ debit and credit cards in the full amount of the Memberships while
   13   Defendants’ parks were closed; Plaintiff and Class members did not consent to
   14   Defendants’ charging of their debit and credit cards while Defendants’ parks were
   15   closed; Plaintiff and Class members were harmed through Defendants’ charging of
   16   their debit and credit cards; Defendants’ conduct was a substantial factor in
   17   causing Plaintiff and Class members’ harm.
   18                              EIGHTH CAUSE OF ACTION
   19                                     Breach of Contract
   20                         (By Plaintiff Against All Defendants)
   21         79.   Plaintiff hereby incorporate by reference the allegations contained in
   22   all preceding paragraphs of this complaint.
   23         80.   Plaintiff brings this claim individually and on behalf of the members
   24   of the proposed Class against Defendants.
   25         81.   Defendants entered into contracts with Plaintiff and Class members to
   26   provide access to Six Flags Magic Mountain and Six Flags Discovery Kingdom in
   27   exchange for the payment of membership fees. Defendants have breached these
   28   contracts by continuing to charge Plaintiff and Class members’ debit and credit

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    1
        cards while the park is close. Plaintiff and Class members have suffered an injury
    2
        through the payment of fees for the Membership while not having access to
    3
        Defendants’ parks.
    4
    5

    6
                                        PRAYER FOR RELIEF
    7
              WHEREFORE, Plaintiff, individually and on behalf of all others similarly
    8
              situated, seeks judgment against Defendants, as follows:
    9
   10         a)     For an order certifying the Class under Rule 23 of the Federal Rules
   11
        of Civil Procedure and naming Plaintiff as representative of the Class and
   12
        Plaintiff’s attorneys as Class Counsel to represent the Class members;
   13
   14         b)     For an order certifying the California Subclass under Rule 23 of the
   15
        Federal Rules of Civil Procedure and naming Plaintiff as representative of the
   16

   17
        California Subclass and Plaintiff’s attorneys as Class Counsel to represent the

   18   California Subclass members;
   19
              c)     For an order declaring that Defendants’ conduct violates the statutes
   20
   21
        and laws referenced herein;

   22         d)     For an order finding in favor of Plaintiff, the Class, and the California
   23
        Subclass, on all counts asserted herein;
   24
   25         e)     For compensatory and punitive damages in amounts to be determined

   26   by the Court and/or jury;
   27
              f)     For prejudgment interest on all amounts awarded;
   28

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    1             g)   For an order of restitution and all other forms of equitable monetary
    2
        relief;
    3
    4             h)   For injunctive relief as pleaded or as the Court may deem proper; and

    5             i)   For an order awarding Plaintiff and the Class their reasonable
    6
        attorneys’ fees and expenses and costs of suit.
    7
    8
    9
   10
                                                          Respectfully submitted,
   11
   12 Dated: April 10, 2020                               KHASHAYAR LAW GROUP
   13
   14
   15
                                                          By:     /s/ Khashayar Law Group
                                                                Khashayar Law Group
   16
                                                                Attorney for Plaintiffs

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